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                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA


   ROWAN FOWLER, et al.,

                       Plaintiffs,
                                                          Case No.: 22-CV-00115-GKF-SH
         v.

   KEVIN STITT, et al.,

                       Defendants.


   ORDER APPLYING PENDING MOTION TO DISMISS, RESPONSE, AND REPLY TO
               PLAINTIFFS’ SECOND AMENDED COMPLAINT

         Pursuant to the parties’ stipulation [Doc. 39] regarding Plaintiffs’ Second Amended

  Complaint, and for good cause shown, the Court hereby orders that the pending Defendants’

  Motion to Dismiss [Doc. 24], Plaintiffs’ Response to Defendants’ Motion to Dismiss [Doc. 33],

  and the Reply in Support of Defendants’ Motion to Dismiss [Doc. 38] shall apply equally to

  Plaintiffs’ Second Amended Complaint.

         IT IS SO ORDERED this 7th day of November, 2022.




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